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                                                                       April 30, 2021
U.S. District Judge William M. Conley
United States District Court
Western District of Wisconsin
120 N Henry St
Madison, WI 53703
                                                      Re: 3:21-cv-00278-wmc
                                                          Huber v. Kraft Heinz Foods Company
Dear District Judge Conley:

       This office represents the Plaintiff. This action was filed on April 25, 2021. ECF No. 1.
The complaint has not been served on defendant. Pursuant to Fed. R. Civ. P. 20 and 21, Plaintiff
requests that the Court permit the joinder of Christopher Lemke and dismiss plaintiff Huber.

        When considering a request to add or remove a party, courts have long considered the
interplay of Rules 15 and 21. Rollins Burdick Hunter of Wisconsin, Inc. v. Lemberger, 105 F.R.D.
631, 636–38 (E.D. Wis. 1985) (“Many of the court decisions to date reflect the view…that an
amendment changing parties requires leave of court”).

        Rule 21 establishes that “[p]arties may be dropped or added by order of the court
on motion of any party or of its own initiative at any stage of the action and on such terms as are
just.” Rollins Burdick Hunter, 105 F.R.D. at 636; see State Auto Ins. Companies v. Whirlpool
Corp., 62 F. Supp. 3d 857, 868 (W.D. Wis. 2014) quoting Rule 21 (“On motion or on its own, the
court may at any time, on just terms, add or drop a party.”).

       Should the Court consider the request under Rule 15, the Court should grant leave. Foman
v. Davis, 371 U.S. 178, 182 (1962) (listing factors to be considered in allowing amendment). Since
the complaint has not been served nor a responsive pleading filed, amendment is sought pursuant
to Rule 15(a)(2) (“Other Amendments.”) (“The court should freely give leave when justice so
requires.”).

         There has been no undue delay, as this case was filed less than a week ago. There is no bad
faith since no other parties are affected by this request. There is no prejudice to defendant because
service has not been completed, and even if it was, the replacement of a named plaintiff in a
proposed class action does not alter the underlying facts. Proposed plaintiff Lemke is a citizen of
Wisconsin, purchased the same Bagel Bites Mozzarella Cheese and Tomato Sauce product, in
Wisconsin, within the same statutes of limitations, and relied on the same representations as
plaintiff Huber.

        Should the Court approve this request, the undersigned will promptly file an amended
complaint which replaces Plaintiff Huber with Christopher Lemke and file a voluntary dismissal
of the claims of Plaintiff Huber. Thank you.

                                                              Respectfully submitted,

                                                                /s/Spencer Sheehan
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                                       Certificate of Service

I certify that on April 30, 2021, I served and/or transmitted the foregoing by the method below to
the persons or entities indicated, at their last known address of record (blank where not applicable).

                                    CM/ECF            First-Class         Email             Fax
                                                         Mail
 Defendant’s Counsel                    ☒                  ☐                ☐               ☐
 Plaintiff’s Counsel                    ☒                  ☐                ☐               ☐
 Courtesy Copy to Court                 ☐                  ☐                ☐               ☐


                                                          /s/ Spencer Sheehan




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